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                                  2023-2395
                  (United States Patent and Trademark Office
                    Application Serial Number 29/685,345)


                   UNITED STATES COURT OF APPEALS
                                for the
                          FEDERAL CIRCUIT




                  IN RE BONNIE IRIS McDONALD FLOYD
                                Appellant


           Appeal from the United States Patent and Trademark Office
                         Patent Trial and Appeal Board
                 Jennifer S. Bisk, Administrative Patent Judge


                      REPLY BRIEF FOR APPELLANT


                                                               Michael Drew
                                                             Attorney at Law
                                                      1814 SmokeRise Summit
                                                    Stone Mountain, GA 30087
                                                              (770) 714-6747

                                                         Attorney for Appellant

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  I.     INTRODUCTION

       This case is an appeal from the decision of the Patent Trial and Appeal

Board (PTAB) of the United States Patent and Trademark Office (USPTO). The

Appellant in the present case is the Applicant, namely, Bonnie Iris McDonald

Floyd, of the Design Patent Application that is the application for which the

USPTO rendered an adverse decision, which decision is hereby appealed.

Sometimes herein for convenience, the Appellant in the present case will be

referred to as “the Applicant.” The Appellee in this matter is identified as Director

of the United States Patent and Trademark Office. The Appellee sometimes herein

for convenience will be referred to simply as “the Board.”



II.    RECENT DECISION OF THE UNITED STATES COURT OF

APPEALS FOR THE FEDERAL CIRCUIT

       A recent decision of the United States Court of Appeals for the Federal

Circuit is relevant in the present case. That decision is RAI Strategic Holdings,

Inc. v. Philip Morris Prods. S.A., 2022-1862 (Fed. Cir. Feb 09, 2024), sometimes

herein for convenience referred to as “RAI.” In RAI, the Appellant in that case, RAI

Strategic Holdings, Inc., appealed the final decision of the USPTO Patent Trial and

Appeal Board (for convenience often referred to as “the Board” in both this Reply

Brief as well as Applicant’s Principal Brief) in a post-grant review (PGR) that
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invalidated certain claims of RAI Strategic Holdings, Inc. Patent No. 10,492,542

(“the ‘542 patent”). The Board held that the claims challenged in the PGR were

obvious and lacked written description. The part of the decision that dealt with the

issue of adequacy of written description is applicable in the present case.

      The ‘542 patent was directed to SMOKING ARTICLES AND USE

THEREOF FOR YIELDING INHALATION MATERIALS, or, more colloquially,

“e-cigarettes.” The adequacy of written description issue related to claims 10 and

27 that recited the element “wherein the heating member is present on the heating

projection along a segment having a length of about 75% to about 85% of a length

of the disposable aerosol forming substance.” The claims featuring this element

were challenged in the PGR for lacking written description support in the ‘542

application under 35 U.S.C. § 112. The Board agreed with the PGR challenger and

found that claims 10 and 27 lacked written support under 35 U.S.C. § 112. The

Federal Circuit reversed the decision of the Board.

      Claims 10 and 27 were directed to a component of the e-cigarette know as a

“heating member.” The claimed range of the length of the heating member was at

the heart of the issue. In relevant part, claims 10 and 27 recited “heating member

… present on the heating projection along a segment having a length of about 75%

to about 85% of a length of the disposable aerosol forming substance.” (‘542

patent). The PGR petitioner agreed that and the Board found that the specification
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of the ‘542 patent disclosed heating members having ranges of lengths of “about

75% to about 125%,” “about 80% to about 120%, about 85% to about 115%, or

about 90% to about 110%” of the length of the inhalable substance medium.

However, the PGR petitioner argued that and the Board agreed that the claimed

range of “about 75% to about 85%” was not supported by the written description

of the ‘542 patent because “the claimed range [was] different from and

substantially narrower than the ranges disclosed in the specification.” (RAI , pages

3-4). The RAI petitioner asserted that “while the specification describes ranges

such as 75% to 125%, 80% to 120%, 85% to 115%, and 90% to 110%, it does not

disclose a heater length range with an upper limit of 85%.” RAI, the owner of

the’542 patent, “countered that the specification provides written description

support because it teaches heating length embodiments at both ends of the claim

range, pointing to the 75% to 125% and 85% to the 110% ranges.” Nevertheless,

“[t]he Board found that the claims lack[ed] written description support because no

range contains an upper limit of about 85% making it ‘less clear’ that the inventors

contemplated a range of ‘about 75% to about 85%’ as part of the invention” and,

thus, claims 10 and 27 lacked written description support under 35 U.S.C. § 112.

(RAI, at pages 4-5).

      In RAI, this Court noted several legal principles and considerations in

vacating the Boards decision, often citing Federal Circuit precedent. Some of these
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principles and considerations have been discussed in Applicant’s Principal Brief

and are repeated here in the context of this recent Federal Circuit decision in RAI.

Some of the principles and considerations discussed by this Court in RAI were not

emphasized in Applicant’s Principal Brief but many of the principles and

considerations cited and discussed reinforce and support Applicant’s arguments in

this case.

      The RAI Court noted the principle that the written description requirement is

met when the disclosure relied on for support reasonably conveys to those skilled

in the art that the inventor had possession of the claimed subject matter as of the

filing date. This principle is cited in Applicant’s Principal Brief. The Court in RAI

cited its own precedent regarding written description support in a case from the

Court’s predecessor court, the Court of Customs and Patent Appeals, in In re

Wertheim, 541 F.2d 257(C.C.P.A. 1976). The Wertheim case dealt with the issue of

adequacy of written disclosure and held that a set of claims that recited a narrower

claimed range than the range specified in the specification did have written

description support. As in the RAI case, Wertheim involved the question of

“ranges,” wherein the specification disclosed a broader set of ranges than was

claimed in the claims. The RAI Court cited Wertheim in the specific context of

ranges in stating the principle that “in determining whether the written description

requirement is met, ‘[m]ere comparison of ranges is not enough,’ … instead, ‘we
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must decide whether the invention appellants seek to protect by their claims is part

of the invention that appellants have described as theirs in the specification.’” RAI

at 6. Again, this Court is noting that the focus of the inquiry is what is described in

the specification from which support is sought.

      This Court, in RAI, noted another principle that Applicant previously cited in

Applicant’s Principal Brief, namely, that the invention claimed does not have to be

described in ipsis verbis in order to satisfy the description requirement of § 112.

      Further in RAI, this Court noted: “In addition to considering what the

specification expressly discloses, we also consider the context of the technology at

issue and the knowledge gained by a person of ordinary skill in the art reading the

specification.” RAI at 9. In the context of the subject matter of the RAI case, this

Court went on to note: “Given the predictability of electro-mechanical inventions

… and the lack of complexity of the particular claim limitation at issue … ‘a lower

level of detail is required to satisfy the written description requirement than for

unpredictable arts.’”

      This Court concluded its consideration of the adequacy of support issue in

the context of the “range” subject matter of RAI and the rationale for vacating the

Boards decision in finding lack of support in the written disclosure lack by stating:
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             In other words, under the facts of this particular case,

             there is no evidence that the claimed subrange results in a

             different invention than the invention disclosed in the

             specification. Accordingly, for all of the above reasons,

             we conclude that no reasonable fact finder could find that

             the claimed subrange is not within the appellant’s

             invention. In so holding, we note that our determination

             is highly factual and dependent on ‘the nature of the

             invention and the amount of knowledge imparted to those

             skilled in the art by the disclosure.’

RAI at 10, citing Wertheim at 262.

      The RAI decision is also important because it addresses one of the arguments

put forth by the Board in the Brief for Appellee. The Board in its decision and the

Brief for Appellee cite the case of Indivior UK Ltd. v. Dr. Reddy’s Laboratories

S.A., 18 F.4th 1323 (Fed. Cir. 2021). The Board cited Indivior as a case where

the written description requirement was not satisfied. The Board cited Indivior in

the context of viewing the disclosure of Applicant’s ‘938 application as disclosing

a “range.” The Board sets forth in its argument that the Court in Indivior found

that a claimed range did not appear in the prior application and that the prior

application contained contrary statements. However, in the context of addressing
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the matter of ranges in RAI, this Court distinguished Indivior in several ways. This

Court noted that it has recognized that “[b]roadly articulated rules are particularly

inappropriate in this area.” This Court went on to further distinguish Indivior by

noting in particular that in the RAI ‘542 patent specification there were no

inconsistent statements regarding the range. This Court continued to distinguish

Indivior noting that RAI’s ‘542 patent states a broader range for the length of the

heating member and then states narrower ranges which are subsumed within that

broader range. This Court closes out distinguishing Indivior by noting that “unlike

Indivior, the invention at issue here [that is, in RAI] falls within the predictable

arts.” The facts cited by this Court in distinguishing Indivior are applicable to the

present case. The disclosures of the drawings in the ‘938 utility application are not

inconsistent. Both drawings disclose a rectilinear arrangement of rectilinear

compartments separated by a cross-work of channels. The text in the ‘938

application that has been referred to by Applicant is not inconsistent with what is

disclosed in the drawings of the ‘938 application and is not inconsistent with the

total disclosure of the ‘938 specification. And, last, the invention at issue in the

present case falls within the “predictive arts.”




III.   CONCLUSION
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      The principles and considerations cited, and the line of reasoning followed

by this Court in deciding RAI are applicable to the present case. RAI reinforces the

legal principles that this case cites, which legal principles Applicant has previously

presented in its Principal Brief. With respect to the principles and considerations

enumerated by this Court in RAI that were not emphasized by Applicant in

Applicant’s Principal Brief, Applicant believes that those factors further

substantiate Applicant’s argument that Applicant’s ‘938 utility application provides

adequate written support for the claim of Applicant’s ‘345 design application. RAI

describes additional principles and considerations important in assessing an

adequacy of support issue, namely:

   • the context of the technology at issue,

   • the knowledge gained by a person of ordinary skill in the art reading the

      specification,

   • the predictability of electro-mechanical inventions, and

   • the lack of complexity of the particular claim limitation at issue.

The technology at issue in the present case is simple and straight-forward – a

cooling blanket. With respect to the ornamental design for the cooling blanket, a

person of ordinary skill in the art would not have any difficulty determining the

ornamental design disclosed by the specification of the ‘938 application. The

invention in the present case is extremely predictable. It is a simple mechanical
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device, namely, a blanket. The invention has no moving parts and is fairly

unsophisticated and easy to comprehend. The claim is to the ornamental design for

a Cooling Blanket, as shown and described.

      In RAI, in reaching its conclusion of finding adequacy of support, this Court

stated that “under the facts of this particular case, there is no evidence that the

claimed subrange results in a different invention than the invention disclosed in the

specification.” Likewise, in the present case Applicant does not believe that there is

any evidence to suggest that the ornamental design claimed in the design

application is any different than the ornamental design disclosed in the

specification of the ‘938 application. In RAI, this Court went on to conclude the

“no reasonable fact finder could find that the claimed subrange [was] not within

the appellant’s invention.” Applicant believes that similarly, in the present case, no

reasonable fact finder could find that the ornamental design for a Cooling Blanket

claimed in Applicant’s ‘345 design application is not within Applicant’s invention

as disclosed in the ‘938 application.

      The Board has taken the position that the ‘938 application discloses a

different ornamental design for a blanket, or perhaps different ornamental designs

for a blanket, than the ornamental design claimed in the ‘345 design application.

The embodiments disclosed by the drawings of the ‘938 application differ

primarily only in the functional feature of the number of compartments shown.
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The ornamental design of the embodiment of Applicant’s blanket illustrated in Fig.

1 of the ‘938 application is the same as the ornamental design of the embodiment

of Applicant’s blanket illustrated in Fig. 1A of the ‘938 application. That same

ornamental design is shown in the drawings of Fig. 1 and Fig. 2 that form the claim

of Applicant’s ‘345 design application.

      There is no ambiguity in the ornamental design disclosed by the drawings of

Applicant’s ‘938 application. If there is any ambiguity to be resolved, it has been

introduced by the Patent and trademark Office. Any such imposed ambiguity can

be resolved by reviewing the remainder of specification of the ‘938 application.

      Because the present application is a design application, the drawings of the

parent application from which priority is claimed is certainly a part of the inquiry

as to adequacy of written description. However, there does not appear to be

anything in the Patent Code, Regulations, or case law that excludes actual written

language that describes what is disclosed. Applicant believes that this is significant

in an instance such as the present case where the Board is attempting to read into

the ornamental design disclosed by drawings of the ‘938 application limitations

that do not exist. The ornamental blanket design disclosed in Fig. 1 and Fig. 1A of

the ‘938 application is clear and unambiguous. Ambiguity that is sought to be

introduced by the Board is easily resolved be reference to other parts of the ‘938

disclosure whose language is not inconsistent with what is shown in Fig. 1 and Fig
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1A of the ‘938 application. The Board has not stated a rationale for why the design

disclosed by Fig. 1 of ‘938 is any different than the design disclosed by Fig. 1A of

’938 or why the design disclosed by either Fig. 1 or Fig. 1A is not the same as the

design claimed in the representations of FIG. 1 and FIG. 2 of the ‘345 design

application. The Board has focused upon the number of objects in the arrays of the

three designs without a showing of why there is anything inherent in the difference

in the sizes of the arrays that affects the common ornamental design of the three.



-The Board Has Applied an Erroneous Interpretation of 35 U.S.C. § 171

      The first part of 35 U.S.C. § 171 reads:

             (a)In General.—
             Whoever invents any new, original and ornamental
             design for an article of manufacture may obtain a patent
             therefor, subject to the conditions and requirements of
             this title.


      37 CFR 1.153(a) reads in relevant part:

             … No description, other than a reference to the drawing,
             is ordinarily required. The claim shall be in formal terms
             to the ornamental design for the article (specifying name)
             as shown, or as shown and described. More than one
             claim is neither required nor permitted.


      Applicant’s claim in the ‘345 application reads: “The ornamental design for

a Cooling Blanket for Humans and Animals, as shown and described.”
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      Fig. 1 and Fig. 1A of Applicant’s ‘938 utility application show what they

show. Figs. 1 and 2 of Applicant’s ‘345 application show what they show. All of

these drawings show an ornamental design for a Cooling Blanket. However, the

Board seems to not want to accept a plain, unambiguous reading of 35 U.S.C. §

171 and 37 CFR 1.153(a). The following excerpt is found at page 18 of Brief for

Appellee: “Therefore the Board rightly determined that the drawings labeled as

Figure 1 and Figure 1A of the ‘938 utility application do not provide ‘any detail as

to the visual impression or ornamental design of the presently claimed cooling

blanket …’” Page 18 further includes the following language: “the drawings of the

6x6 and 6x4 array configuration are not sufficient to narrow those options to a

specific visual impression of a blanket of any other configuration other than those

explicitly shown.” The Board appears to want to impart a requirement of some sort

of threshold of creativity for an ornamental design beyond what patent law

requires. However, the drawings show what they show. The visual impression

imparted by the drawings is what it is. The visual impression and ornamental

design of what is disclosed in the drawings of the ‘938 utility application are

harmonious and consistent with one another and with the drawings of the ‘345

design application.

      The Board appears to work backwards to erroneously characterize the visual

impression and ornamental design disclosed in Applicant’s ‘938 utility application
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in a way that leads to the conclusion that the ‘938 disclosure does not provide

adequate support for the ‘345 claim.



-Functionality

      The mathematical precision that the Board has imposed in assessing the

adequacy of written disclosure in the present case is improper for at least two

reasons. First, the mathematical preciseness required by the Board is a functional

consideration as a foundational matter. The disclosure of the ‘542 patent relates the

size of the array to how the blanket may be employed in use. Any such functional

relevance is not a proper consideration in the context of assessing a design patent.

Second, the Board has based its determination that the written description of the

‘938 utility application is inadequate to support the design claimed in the present

design application solely because the disclosure does not contain the exact same

number of items in the array depicted in the design application. The Board did not

offer any explanation as to why the ornamental design disclosed in the ‘938

application should be limited to only the mathematical configuration of the

exemplary embodiments shown or how the number of items in the arrays of the

embodiment disclosed impact the ornamental design itself. In fact, the Board did

not give an indication as to how the number of items in the array in any way affect

the aesthetic features of the invention of the ‘938 utility application.
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      Applicant believes that imposing a functional test relating to a numerical

standard imposed in the assessment of adequacy of support for the ornamental

design claimed is an issue of law that this Court can review de novo, if necessary.



                                       Respectfully submitted,

                                       /s/ Michael Drew

                                       Attorney for Appellant

1814 SmokeRise Summit
Stone Mountain, GA
(770) 714-6747
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FORM 19. Certificate of Compliance with Type-Volume Limitations                            Form 19
                                                                                          July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

            Case Number: 2023-2395

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